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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,                    )
                                               )
                       Plaintiff,              )
                                               )    C.A. No. 1:20-cv-00056-UNA
       v.                                      )
                                               )
REFLEXIS SYSTEMS, INC.,                        )
                                               )
                       Defendant.              )
                                               )
                                               )



  PLAINTIFF’S NOTICE OF DISMISSAL WITHOUT PREJUDICE OF DEFENDANT
                        REFLEXIS SYSTEMS, INC.

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby provides notice that it dismisses WITHOUT prejudice all

claims by Plaintiff against Defendant Reflexis Systems, Inc. Each party shall bear its own costs,

expenses, and attorneys’ fees.


Dated: March 3, 2020                           Respectfully submitted,

                                                   /s/Stamatios Stamoulis_________________________
                                                   Stamatios Stamoulis (#4606)
                                                   Stamoulis & Weinblatt LLC
                                                   800 N. West Street, Third Floor
                                                   Wilmington, DE 19801
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                                                   Attorney(s) for Plaintiff Symbology
                                                   Innovations, LLC



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                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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                              CERTIFICATE OF SERVICE

       I hereby certify that on March 3, 2020, I electronically filed the above documents with

the Clerk of Court using CM/ECF which will send electronic notification of such filings to all

registered counsel.



                                                  /s/Stamatios Stamoulis
                                                  Stamatios Stamoulis (#4606)




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                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
